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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF MISSISSIPPI
                                SOUTHERN DIVISION

 REPUBLICAN NATIONAL                                                              PLAINTIFFS
 COMMITTEE et al

 VERSUS                                            CIVIL ACTION NO. 1:24-CV-25-LG-RPM

 JUSTIN WETZEL et al                                                           DEFENDANTS

             ORDER GRANTING MOTIONS TO APPEAR PRO HAC VICE

       This matter is before the Court on the motions for pro hac vice admission filed by

Plaintiffs Republican National Committee, Mississippi Republican Party, James Perry, and

Matthew Lamb on behalf of attorneys Thomas R. McCarthy and Conor D. Woodfin.

       IT IS ORDERED that the Motions to Appear Pro Hac Vice are hereby granted, and that

Thomas R. McCarthy and Conor D. Woodfin shall be admitted to serve as co-counsel for

Plaintiffs Republican National Committee, Mississippi Republican Party, James Perry, and

Matthew Lamb. Admission is conditioned upon completion of the registration procedures found

on the Court’s website and at the following link: https://www.mssd.uscourts.gov/attorney-

admissions-page.

        SO ORDERED AND ADJUDGED, this the 30th day of May 2024.




                                                    /s/ Robert P. Myers, Jr.
                                                    ROBERT P. MYERS, JR.
                                                    UNITED STATES MAGISTRATE JUDGE
